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                                  Exhibit 3:
  Attachment C7 to I-70 East ROD 1: Phase 1 (Central 70 Project):
  Air Quality NEPA Comparison Technical Report, January 2017
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       LIST OF ACRONYMS
       AM                 Morning
       APCD               Air Pollution Control Division
       CDOT               Colorado Department of Transportation
       CDPHE              Colorado Department of Public Health and Environment
       CFR                Code of Federal Regulations
       DRCOG              Denver Regional Council of Governments
       EIS                Environmental Impact Statement
       EPA                U.S. Environmental Protection Agency
       FHWA               Federal Highway Administration
       FTA                Federal Transit Administration
       GHG                Greenhouse gas
       I-25               Interstate 25
       I-70               Interstate 70
       I-225              Interstate 225
       I-270              Interstate 270
       LOS                Level of service
       MOVES2010b         Motor Vehicle Emission Simulator version 2010b
       MSAT               Mobile source air toxic
       NAAQS              National ambient air quality standards
       NEPA               National Environmental Policy Act
       PM                 Particulate matter
       PM10               Particulate matter of 10 microns or less in diameter
       ppm                Parts per million
       ROD                Record of Decision
       RTP                Regional Transportation Plan
       SIP                State Implementation Plan
       STIP               Statewide Transportation Improvement Plan
       TIP                Transportation Improvement Program
       VMT                Vehicle miles traveled
               3
       μg/m               Micrograms per cubic meter




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  1 PURPOSE OF THIS REPORT

  This document describes the methods used to show that the Interstate 70 (I-70) East Project will meet the
  requirements of the Clean Air Act, and will not cause violations of air quality standards in the Denver region
  when the project is completed and being used by the traveling public. The Clean Air Act, Section 176(c),
  requires that federally supported highway and transit projects are consistent with state air quality goals,
  found in the State Implementation Plan (SIP). The process to ensure this consistency is called
  Transportation Conformity. Conformity to the SIP means that transportation activities will not cause new
  violations of the national ambient air quality standards (NAAQS or “standards”), worsen existing violations
  of the standard, or delay timely attainment of the relevant standard or required interim milestones.
  Transportation conformity is required for federally supported transportation projects in areas that have
  been designated by the U.S. Environmental Protection Agency (EPA) as not meeting one or more of the
  transportation-related NAAQS.


  2 PROJECT DESCRIPTION

  As outlined in the Final EIS, it is the intent of the Federal Highway Administration (FHWA) and the Colorado
  Department of Transportation (CDOT) to implement the Preferred Alternative of the I-70 East Project in its
  entirety. However, due to current funding limitations, there is only enough money to implement Phase 1 of
  the Preferred Alternative, which is herein referred to as the Central 70 Project. The Record of Decision
  (ROD) for the Central 70 Project allows it to move forward into construction. The Central 70 Project
  incorporates portions of the identified Preferred Alternative, the Partial Cover Lowered Alternative with
  Managed Lanes Option. It includes all construction and mitigation commitments included in the Preferred
  Alternative from Brighton Boulevard to Chambers Road. It also includes several minor design changes that
  occurred in consideration of comments received on the Final EIS.

  As seen in Figure 1, the Central 70 Project includes the complete reconstruction of I-70 from Brighton
  Boulevard to Interstate 270 (I-270) and widening the remaining stretch from I-270 to Chambers Road to
  accommodate one additional lane in each direction and restriping the roadway from Interstate 25 (I-25) to
  Brighton Boulevard.




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  Figure 1    Central 70 Project Overview




  3 TRANSPORTATION CONFORMITY

  In all areas that have been designated as nonattainment or attainment/maintenance for any of the
  transportation-related criteria pollutants, state governments are required to develop a SIP, which explains
  how the state will comply with the requirements of the Clean Air Act. The Clean Air Act also requires that
  metropolitan transportation plans, metropolitan Transportation Improvement Programs (TIPs), and
  projects that are developed, funded, or approved by FHWA and the Federal Transit Administration must
  demonstrate that such activities “conform” to the SIP. Transportation conformity requirements apply to
  any transportation-related criteria pollutants for which the project area has been designated a
  nonattainment or attainment/maintenance area. For the I-70 East Project, the criteria pollutants of
  concern are carbon monoxide, course particulate matter of less than 10 microns in size (PM10), and ozone.




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  As noted above, under Section 176(c) of the Clean Air Act, a transportation project is said to conform to the
  provisions and purposes of the SIP if the project, both alone and in combination with other planned
  projects, does not:

         Cause or contribute to new air quality violations of the NAAQS,
         Worsen existing violations of the NAAQS, or
         Delay timely attainment of the NAAQS or required interim milestones.
  Conformity applies at both the regional level for metropolitan plans and TIPs and at the project level for
  transportation projects in air quality nonattainment and attainment/maintenance areas. The regional
  conformity analyses are not performed by CDOT, nor are they performed for individual CDOT projects. The
  regional air quality analyses are performed by the Colorado Department of Public Health and Environment
  (CDPHE), Air Pollution Control Division (APCD), in coordination with the Denver Regional Council of
  Governments (DRCOG) for the formal approval process of the Regional Transportation Plan (RTP) and TIP.

  Additionally, if there are significant changes to the project’s design concept and scope during the planning
  process, the regional emission analysis will need to be revisited and a conformity determination completed
  on the RTP and TIP before the project can complete the National Environmental Policy Act (NEPA) process
  (40 Code of Federal Regulations (CFR) §93.107).

  For certain projects in carbon monoxide and PM10 areas, a hotspot analysis is required as part of the
  project level conformity determination. A hotspot analysis for the I-70 East Project is required for carbon
  monoxide because the Denver region is an attainment/maintenance area and because it meets the second
  of the project screening criteria, cited in 40 CFR §93.123 (a), and listed below:

         (i) Projects in or affecting locations, areas, or categories of sites which are identified in the
          applicable implementation plan as sites of violation or possible violation;
         (ii) Projects affecting intersections that are at Level-of-Service (LOS) D, E, or F, or those that will
          change to LOS D, E, or F because of increased traffic volumes related to the project;
         (iii) Projects affecting one or more of the top three intersections in the nonattainment or
          maintenance area with highest traffic volumes, as identified in the applicable implementation plan;
          and
         (iv) Projects affecting one or more of the top three intersections in the nonattainment or
          maintenance area with the worst level of service, as identified in the applicable implementation
          plan.
  A PM10 hotspot analysis is required for projects of local air quality concern in PM10 nonattainment and
  attainment/maintenance areas per 40 CFR §93.123(b). EPA regulations (40 CFR §93.123(b)) state that a
  project will be determined to be of local air quality concern if it meets any of five evaluation criteria. Two of
  the five criteria are related to transit projects and are not applicable to the I-70 East Project. The remaining
  three criteria are all potentially applicable:

         New highway projects that have a significant number of diesel vehicles, and expanded highway
          projects that have a significant increase in the number of diesel vehicles.




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         Projects affecting intersections that are at LOS D, E, or F with a significant number of diesel
          vehicles, or those that will change to LOS D, E, or F because of increased traffic volumes from a
          significant number of diesel vehicles related to the project.
         Projects in or affecting locations in areas, or categories of sites that are identified in the PM2.5 or
          PM10 applicable implementation plan or implementation plan submission, as appropriate, as sites
          of violation or possible violation.
  The I-70 East Project was determined to be a project of local air quality concern through the Interagency
  Consultation process for the following reasons: it is an expanded highway project that has a significant
  number of diesel vehicles and the project affects intersections that are at LOS D, E, or F with a significant
  number of diesel vehicles. Interagency consultation confirmed the need for a hotspot analysis to be
  completed for PM10.


  4 REGIONAL TRANSPORTATION PLAN

  As specified in 40 CFR §93.115, a project must be included in a conforming RTP and TIP. Since the release of
  the Final EIS, DRCOG adopted an amendment to the 2040 Fiscally Constrained RTP (March 16, 2016), which
  includes the Central 70 Project. This extends the hotspot analysis to the DRCOG planning horizon year of
  2040, as required by the EPA in 40 CFR §93.116(a), to demonstrate that during the time frame of the
  transportation plan no new local violations will be created and the severity or number of existing violations
  will not be increased as a result of the project. The portions of the Preferred Alternative included in the
  Central 70 Project, as described in Section 1 above, will be implemented between now and 2021 are
  included in the conforming TIP.

  In addition to extending the planning horizon, the 2040 Fiscally Constrained RTP includes transportation
  volumes modeled by DRCOG using the Focus travel demand model.


  5 DETERMINATION OF REGIONAL AND PROJECT LEVEL
    CONFORMITY

  The Central 70 Project is within the Denver maintenance/attainment areas for PM10 and carbon monoxide
  and within the marginal nonattainment area for ozone. The Transportation Conformity Rule, 40 CFR
  §93.104(d), requires that the I-70 East Project conform prior to being approved or funded. Part of the
  conformity determination requires the project to be included in the regional emissions analysis for the
  conforming RTP and TIP. The project-level conformity determination demonstrates that an individual
  project does not contribute to any new local violations, increase the frequency or the severity of existing
  violations, or delay timely attainment of the NAAQS or any required interim emissions reductions or other
  milestones.

  5.1 Regional Conformity
  The development of regional conformity analyses and determinations follow an Interagency Consultation
  process (Colorado Air Quality Control Commission Regulation 10). As described below, the project meets
  conformity requirements.


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 The Central 70 Project is incorporated into the following RTP:

        2015 Cycle 2 Amendments to the 2040 Fiscally Constrained RTP was adopted by the DRCOG board
         on March 16, 2016. FHWA, after consultation with EPA, issued the Air Quality Conformity
         Determination for the DRCOG 2040 Fiscally Constrained RTP 2015 Cycle 2 Amendment on May 18,
         2016.
 The portions of the Central 70 Project that will be implemented between now and 2021 are included in the
 DRCOG 2016–2021 TIP amended March 2016, as follows:

        Additional capacity between Brighton Boulevard and I-270, with the addition of one managed lane
         in each direction
        Additional capacity between I-270 and Chambers Road
        Additional ramps at the Colorado Boulevard and I-70 interchange
 The Central 70 Project also is included in the Fiscal Year 2017–2020 Statewide Transportation Improvement
 Program, adopted May 2016.

 DRCOG conformity determinations were made for the RTP and TIPs as noted below:

        2015 Cycle 2 Amendments, CO and PM10 Conformity Determination, for the DRCOG 2040 Fiscally
         Constrained RTP and the Amended 2016–2021 TIP, as adopted by the DRCOG Board on March 16,
         2016, is available at the following website:
         https://drcog.org/sites/drcog/files/resources/DRCOG%202016-2021%20TIP-
         %20Amended%20September%2021%202016_0.pdf
        2015 Cycle 2 Amendments, Denver Southern Subarea 8-Hour Ozone Conformity Determination, for
         the DRCOG 2040 Fiscally Constrained RTP and the Amended 2016–2021 TIP and the Southern
         Subarea Portion of the Upper Front Range 2040 RTP and the 2016–2019 Statewide Transportation
         Improvement Program for the Upper Front Range Transportation Planning Region, as adopted by
         the DRCOG Board on March 16, 2016, is available at the following website:
         https://drcog.org/sites/drcog/files/resources/FINAL%202015%20Cycle%202%20Denver%20Southe
         rn%20Subarea%208-Hour%20Ozone%20Conformity%20Determination.pdf
        A conformity redetermination for 2040 RTP 2015 Cycle 2 Amendment and amended 2016-2021 TIP
         was done on November 21, 2016
 DRCOG’s analysis shows the emission results for determination of regional conformity remain significantly
 under each of the individual pollutant budgets with the Central 70 Project included in the RTP.


 6 HOTSPOT METHODOLOGY

 The transportation conformity rule requires that the year(s) of peak emissions within the time frame of the
 RTP be considered in the hotspot analysis. Because the project is included in the DRCOG 2040 RTP, the
 hotspot analyses have been updated to reflect 2040 as the timeframe of the plan and also as the year of
 peak emissions, with the highest traffic volumes and PM10 emissions, as shown in the RTP, and the highest
 potential background concentrations for PM10. In November 2015, the EPA published revised guidance that
 describes how to complete quantitative hotspot analysis for certain highway and transit projects in PM2.5


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 and PM10 nonattainment and maintenance areas and the transportation conformity requirements which
 was followed for the Central 70 conformity analysis.

 Although the trip-based Compass travel demand model used for the Final EIS continues to be an approved
 resource for quantifying traffic in the region the interagency partners determined that traffic volumes used
 for the 2040 hotspot analysis should be developed from the most recent Focus travel demand model
 updated for the 2040 RTP.

 6.1      Carbon Monoxide Hotspot Analysis Methodology

 The carbon monoxide hotspot analysis methodology is consistent with processes documented in the Final
 EIS, with the following modifications: the carbon monoxide hotspot analyses are based on 2040 data from
 the DRCOG Focus model.

 During Interagency Consultation, the EPA Administrator for Region 8 approved a process decision to
 streamline the comparative intersection analysis of numerous years by creating a worst-case scenario using
 the worst-case emissions factors combined with the worst traffic volume. As agreed to by the EPA
 Administrator and reported in the Final EIS, the screening process for the carbon monoxide hotspot
 analysis for the I-70 East Project used the highest vehicle miles traveled (VMT) activity in the year 2035,
 combined with the Motor Vehicle Emissions Simulator (MOVES) emissions factors in the opening year
 2010.

 For the update of the carbon monoxide analysis for conformity, the approach was maintained the same as
 the Final EIS. The highest emission factors (2022) were combined with the highest traffic volumes (2040).
 Because the improvements will not be built for several more years, 2022 was judged to be more
 representative of opening-day conditions than 2010. The method produces overstated carbon monoxide
 concentrations, but ensures the maximum potential carbon monoxide concentrations are considered.
 Other modeling parameters such as meteorology were consistent with those used during the Final EIS
 carbon monoxide hotspot analysis.

 Model selection

 An emissions model and an air quality dispersion model were selected through the Interagency
 Consultation process. As with the Final EIS, the analysis continued to use EPA’s MOVES2010b model at the
 project level to estimate emissions for each roadway link in the carbon monoxide hotspot study area
 because the update to the analysis started in May 2016 during the MOVES2014 grace period. EPA’s
 CAL3QHC software continued to be used to conduct carbon monoxide dispersion modeling. CAL3QHC is the
 recommended model for use in estimating carbon monoxide emissions.




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 Model year

 Traffic data from the 2040 DRCOG Focus model was used to address the conformity requirement for the
 hotspot analysis to consider the year of peak emissions over the time frame of the transportation plan.
 MOVES2010b emissions rates from 2022 were used.

 The worst traffic year is considered to be 2040. As discussed above, this update is consistent with regional
 air quality modeling and with the desire to represent the worst-case scenario. CDOT agreed with APCD’s
 request to use 2022 for the updated modeling to represent the opening year. The project analysis is
 required to account for the year of peak emissions over the time frame of the transportation plan, and
 2010 is not within that time frame or that of the project.

 Locations to model

 As with the Final EIS, the Colorado Boulevard interchange was identified as the location to represent the
 worst traffic conditions on the corridor for the conformity analysis. For the Final EIS, a sensitivity analysis
 was performed using the DynusT traffic model to validate the choice of the I-70 interchange at Colorado
 Boulevard as the worst-case location for the carbon monoxide hotspot analysis. The analysis found that the
 I-70 interchanges at Quebec Street and Colorado Boulevard are the two worst interchanges in 2035, with
 the model predicting slightly higher carbon monoxide emissions at the Quebec Street interchange due to
 higher traffic volumes and longer delays.

 While updating traffic data to the most recent 2040 Focus model, the traffic volumes at Colorado
 Boulevard and Quebec Street were reviewed again. The predicted 2040 traffic LOS at Colorado Boulevard
 in the morning (AM) and afternoon (PM) peak hours are LOS D and LOS D, respectively. The same relatively
 small differences in traffic and congestion between the two intersections exist in the new 2040 model as
 was reported in the Final EIS. The predicted results from modeling carbon monoxide emissions would vary
 only by 0.2 parts per million (ppm) to 0.4 ppm, as disclosed in the Final EIS Air Quality Technical Report.
 Given the minimal differences, continued use of the I-70 and Colorado Boulevard interchange as the
 location for the carbon monoxide hotspot analysis is appropriate.

 Emission factors

 Carbon monoxide emission factors were developed using MOVES2010b for 2022, to address the conformity
 requirement for the hotspot analysis to consider the year of peak emissions over the life of the RTP. Carbon
 monoxide emission factors were developed for various vehicle types, road slopes, road types, and vehicle
 speeds. From these data, composite carbon emission factors were developed for each road segment by
 referencing emission factors for DRCOG traffic links, depending on the traffic and geographic characteristics
 of those links.

 Background concentrations
 To estimate maximum carbon monoxide concentrations, modeled results were added to background
 values provided by APCD. Values for background concentrations in the year 2040 related to measured
 concentrations in the NAAQS are as follows:

        One-hour background concentration = 5.5 ppm
        Eight-hour background concentration = 3.6 ppm


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 6.2     PM10 Hotspot Analysis Methodology

 Methodology for conducting the PM10 hotspot analysis, as well as for calculating a design value, are
 consistent with processes documented in the Final EIS. EPA’s particulate matter hotspot guidance (EPA-
 420-B-15-084) for calculating design values was applied to the PM10 hotspot analysis; and the design values
 estimated through the comparative analysis were compared against the NAAQS for PM10.

 Model selection

 Consistent with the Final EIS, EPA’s MOVES2010b model continued to be used at the project scale to
 estimate emissions for each roadway link. As with the Final EIS, the analysis continued to use EPA’s
 MOVES2010b model for use at the project scale level to estimate emissions for each roadway link in the
 carbon monoxide hotspot study area because the update to the analysis started in May 2016 during the
 MOVES2014 grace period. EPA’s AERMOD model (version 15181) was selected through Interagency
 Consultation for the air dispersion analysis and estimation of pollutant concentrations at receptors in the
 local near-road land areas. AERMOD can model lowered sections of roadway, as in the Central 70 Project,
 as well as the outflow from the proposed covered portion of I-70.

 Model year

 As discussed previously, for consistency with regional air quality modeling and based on assumptions
 developed from regional PM10 modeling results, 2040 has been identified as the year of peak emissions for
 PM10, and is, therefore, the most indicative of the worst air quality conditions for analysis.

 Locations to model

 Based on the locations of maximum receptors and results presented in the Final EIS, the I-25/I-70
 interchange area and the Interstate 225 (I-225)/I-70 interchange have been maintained as the primary
 focus areas for the air quality analysis. To better manage the workflow and reduce execution times of
 individual AERMOD runs, the project was divided into three areas, as shown in Figure 2 below:

     1) I-25 Interchange (yellow/green)—west of the I-25 interchange to just west of Brighton Boulevard
     2) Swansea Area (green/blue)—from Washington Street to the Vasquez Boulevard interchange
     3) I-225 Interchange—just east of Chambers Road to just west of Tower Road


 Even though the west portion of the I-70 East Project was split into two sections for managing modeling
 workflow and reducing AERMOD run times, there is a half-mile overlap (green area) of the vehicle emission
 links considered in both the I-25 Interchange (yellow area) and Swansea Area model runs (blue area).
 Additionally, the I-225 and I-25 interchanges were the original two locations identified during Interagency
 Consultation for the Final EIS as the hotspot locations to be modeled for PM10 conformity. The Swansea
 area was added to the I-25 area to address air quality concerns raised by the Elyria-Swansea community
 located east of Brighton Boulevard.

 This Swansea area is located east of Brighton Boulevard about one mile from the I-25 interchange with no
 meaningful concentration contributions from the interchange. Previous modeling indicated that the
 highest concentrations were predicted along the I-25 corridor and along I-70 at the I-225 interchange.



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 Figure 2    Diagram of PM10 I-25 Model Split




                       1 MILE


 For the analysis, traffic links were included in the air quality model if there was a design or operational
 change to the roadway network or if the project had a negative impact on roadway operations. This
 included local roads and intersection operations where there are designs that add capacity. Using this
 approach, the number of links increased to include additional traffic links on Vasquez Boulevard, Brighton
 Boulevard, and York Street, as well as at Steele Street and 45th Avenue.

 Emission factors

 As in the Final EIS, emission factors for PM10 were developed using MOVES2010b. As with the Final EIS, the
 analysis continued to use EPA’s MOVES2010b model at the project level to estimate emissions for each
 roadway link in the carbon monoxide hotspot study area because the update to the analysis started in May
 2016 during the MOVES2014 grace period. PM10 emission factors were developed for various vehicle types,
 road slopes, road types, and vehicle speeds. From these data, composite particulate emission factors were
 developed for each road segment by referencing emission factors for DRCOG traffic links, depending on the
 traffic and geographic characteristics of those links.
 Road dust from mobile sources is the major contributor of particulate emissions from the project. MOVES
 does not calculate particulate matter emissions from road dust, however. To estimate road dust and
 sanding emissions for this analysis, emissions factors from the most recent PM10 maintenance conformity
 modeling were used, accounting for dust mitigation controls committed to by CDOT in consultation with
 APCD.

 Background concentrations
 Updated EPA guidance (see Attachment B, Updates to Agency Consultation Addendum) requires use of the
 third highest PM10 value over a three-year period, excluding exceptional events, to represent background
 concentrations. For the conformity determination, the background concentrations were estimated using
 2012 to 2014 data, resulting in a background PM10 value of 113 micrograms per cubic meter (μg/m3).

 Receptor grid

 The methodology to determine the receptor placement remained the same as described in the Final EIS.



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 7 PROJECT-LEVEL CONFORMITY ANALYSIS

 Design values are the metric used to compare the values produced by air quality modeling with the NAAQS.
 Modeling estimates of carbon monoxide emissions for the Central 70 Project are well below the NAAQS for
 the hotspots modeled for conformity purposes, as described in Table 1. The results demonstrate that the
 project will meet the transportation conformity requirements because the Central 70 Project will not cause
 or contribute to any new localized carbon monoxide violations, nor will it increase the frequency or severity
 of any existing ozone violations, nor will it delay timely attainment of the carbon monoxide NAAQS.

 Table 1           Carbon Monoxide Concentrations

                                                Carbon Monoxide Concentration in parts per million (ppm)
   Analysis Time
                        Time of Day                                                               Total              NAAQS (standard)
      Period                                Background*                Modeled
                                                                                          Background + Modeled
                            AM                                            1.4                        6.9              1-hour standard
       1 hour                                    5.5                                                                      35 ppm
                            PM                                            1.9                        7.4
                            AM                                            0.9                        4.5              8-hour standard
       8 hour                                    3.6                                                                      9 ppm
                            PM                                            1.2                        4.8
 *Background concentrations provided by APCD.


 EPA’s PM guidance (EPA-420-B-15-084) for calculating design values was applied to the PM10 hotspot
 analysis. The contributions from the project, nearby sources, and background concentrations from other
 sources are combined to estimate 2040 emission concentrations (i.e., design values) at receptor locations.
 Maximum receptor locations are shown in Figure 3, Figure 4, and Figure 5.

 Design values for the Central 70 Project are 150 µg/m3 for the PM10 hotspots modeled for conformity
 purposes, as described in Table 2. The results demonstrate that the project will meet the Transportation
 Conformity requirements because the Central 70 Project will not cause or contribute to any new localized
 PM10 violations, or increase the frequency or severity of any existing ozone violations, or delay timely
 attainment of the PM10 NAAQS.

 Table 2           PM10 Concentrations

                                          PM10 Concentration in micrograms per cubic meter (µg/m3)
                                                                                                                            NAAQS
        Location                                                             Total
                             Background                Modeled                                       Design Value         (standard)
                                                                     Background + Modeled
  I-70 and I-25                                        41.136                154.136                       150
                                                                                                                       24-hour standard
  I-70 in Swansea                113                   40.948                153.948                       150
                                                                                                                          150 µg/m3
  I-70 and I-225                                       32.220                145.220                       150



 To develop these estimates, the 24-hour PM10 design value is rounded per guidance to the nearest 10
 µg/m3. For example, 155.000 rounds to 160, and 154.999 rounds to 150. The Central 70 Project is located in
 the moderate nonattainment area for the Denver-North Front Range Area for the 2008 ozone standard.
 Since ozone is a regional pollutant, there is no requirement to analyze potential impacts through hotspot
 modeling and no possibility of localized violations of ozone to occur at the project level.



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 Figure 3
 Figure    Maximum
        3 Maximum  ConcentrationReceptor
                  Concentration  ReceptorLocation
                                         Location for
                                                  for PM
                                                      PM10
                                                         10 at
                                                            at I-25/I-70
                                                               I-25/I-70




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 Figure 4        Maximum Concentration Receptor Locations for PM10 at Swansea/I-70




                                                                                                       Approximate Scale
          • Receptor                       Maximum receptor
                                                                                                 0                                2.000 feet



 Figure 5        Maximum Concentration Receptor Locations for PM10 at I-70/I-225

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      • Receptor        Maximum receptor                                                                               Approximate Scale
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 8 CONCLUSIONS

 As stated above, the project is included in the DRCOG 2016–2021 TIP and the fiscally constrained 2040 RTP,
 which were found to conform to the carbon monoxide, PM10, and ozone SIP. The design and scope of the
 Central 70 Project are consistent with that used in the regional emissions analysis for the RTP and TIP.

 Additionally, based on the carbon monoxide and PM10 hotspot analyses conducted, the Central 70 Project
 has been determined to not cause an exceedance of any applicable NAAQS. The carbon monoxide and
 PM10 hotspot analyses described above demonstrate that the project will not contribute to any new local
 violations, increase the frequency or severity of any existing violation, or delay timely attainment of the
 NAAQS or any required interim emissions reductions or other milestones. This project is consistent with the
 PM10 SIP measures. This project complies with the Transportation Conformity Regulations in 40 CFR §93
 and with the conformity provisions of Section 176(c) of the Clean Air Act.




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